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                     IN THE UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF DELAWARE

                                                   )
 DEFINITION SERVICES INC., a British               )
 Virgin Islands corporation,                       )
                                                   )
                       Plaintiff,                  )
                                                   )
         v.                                        )      C.A. No. _______________
                                                   )
 GVA CAPITAL LTD., a Cayman Islands                )
 exempted company,                                 )
                                                   )
                       Defendant.                  )


              DEFENDANT GVA CAPITAL, LTD.’S NOTICE OF REMOVAL

       Defendant GVA Capital Ltd. (“GVA”) files this Notice of Removal of Case No. 2021-

0357-KSJM, currently pending in the Court of Chancery of the State of Delaware, and all claims

and causes of action therein (the “Action”) pursuant to 28 U.S.C. §§ 1331, 1441(a), and 1446 and

states as follows:

                          NATURE OF THE REMOVED ACTION
       1.      This is a dispute between GVA, an investment manager, and Definition Services

Inc. (“Definition”), the successor-in-interest to one of GVA’s investors. GVA is a Cayman Islands

corporation with its headquarters in San Francisco, California; Definition is a British Virgin

Islands (“BVI”) entity with its headquarters in BVI.

       2.      In 2015 and 2016, GVA and its principal, Magomed Musaev, approached Russian

businessman Suleiman Kerimov and encouraged him to invest in various GVA projects. These

included a venture-capital fund called GVA Vestor.In; a proposed event and co-working space in

San Francisco that would be owned and managed by the Startup Temple Group; and the investment

at issue in this dispute, GVA Auto, LLC (“GVA Auto”). See Ex. A at Dkt. 1 (“Compl.”), ¶ 12.
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        3.     In September 2016, Mr. Kerimov and his family agreed to invest $20 million in

GVA Auto.        Mr. Kerimov routed the investment through Prosperity Investments, LP

(“Prosperity”) and installed his nephew, Nariman Gadzhiev, as Prosperity’s director. GVA

invested the $20 million in Luminar Technologies, Inc. (“Luminar”), which, at the time, was a

nascent Silicon Valley startup developing LiDAR technology for self-driving (or autonomous)

cars.

        4.     It was an unusual, and an unusually risky, investment for Mr. Kerimov and his
family. Within months, he and Mr. Gadzhiev grew skeptical and demanded that GVA extricate

Prosperity from the deal. GVA agreed to look for a replacement buyer, ultimately selling 5% of

Prosperity’s interest to a third party. But GVA also made a proposal that it thought would allay

Prosperity’s concerns: GVA agreed to take on all of Prosperity’s risk. Specifically, GVA and

Prosperity agreed that: (1) if the Luminar investment failed, GVA would make Prosperity whole

by refunding its entire investment (or whatever portion remained after sales to third parties); and

(2) if the Luminar investment ultimately succeeded, GVA would keep any proceeds in excess of

Prosperity’s original investment (the “Profit and Loss Agreement” or “PLA”).

        5.     Then, in early 2018, the U.S. Department of the Treasury designated Mr. Kerimov

“an official of the Government of the Russian Federation” and placed him on its sanctions list,

making it illegal for him to do business or own assets in the United States.1 Shortly before those

sanctions were announced, Mr. Kerimov and Mr. Gadzhiev decided to move Prosperity’s

holdings—including its GVA Auto investment—into a trust established for the benefit of

Mr. Kerimov’s children. To do that, they purportedly transferred the investment from Prosperity



1
  See, e.g., U.S. Dept. of the Treasury, Treasury Designates Russian Oligarchs, Officials, and
Entities in Response to Worldwide Malign Activity (Apr. 6, 2018), available at
https://home.treasury.gov/news/press-releases/sm0338 (“He is alleged to have brought hundreds
of millions of euros into France—transporting as much as 20 million euros at a time in suitcases,
in addition to conducting more conventional funds transfers—without reporting the money to
French tax authorities. Kerimov allegedly launders the funds through the purchase of villas.
Kerimov was also accused of failing to pay 400 million euros in taxes related to villas.”).


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to Prosperity’s sole owner, Definition. Notwithstanding these connections, Definition now takes

the position that Mr. Kerimov “does not have any relationship whatsoever with Definition.”

       6.       Over time, it started to become clear that Luminar was a high-risk-high-reward

investment. In August 2020, Luminar announced that it planned to go public by merging with a

special purpose acquisition company or “SPAC.” At the time, analysts estimated that Luminar

would have a post-merger valuation of approximately $3.4 billion, which meant that GVA Auto’s

initial $20 million investment was suddenly worth approximately $200 million. Today, Luminar
has a market capitalization of $7.3 billion, and GVA Auto’s stake is worth approximately

$417 million.

       7.       GVA continues to manage the GVA Auto investment. In that capacity, GVA has

decision-making authority, including the “rights and powers” to “sell or otherwise dispose of” any

of GVA Auto’s assets at any time. However, the Luminar shares have been (and still are) subject

to a lockup restriction that expires in early June 2021. Two months ago, as the expiration date

approached, GVA wrote to Definition’s managers at Neuberger Berman (“NB”) to remind them

that GVA and Prosperity had entered into an agreement, the PLA, regarding how any GVA Auto

profits would be distributed. GVA explained that, when the lockup expired, it intended to proceed

according to the terms of the parties’ PLA:

       When it sells GVA Auto’s interest in Luminar, it will distribute the proceeds
       accordingly: first, it will ensure that Definition is made whole for Prosperity’s
       investment; then it will ensure that the Manager is paid for its services, consistent
       with the requirements of the OA; and then, if any proceeds remain, GVA Capital
       will retain them.
       8.       NB never responded to GVA’s letter.

       9.       Instead, two weeks later, Definition filed a declaratory-judgment complaint in the

Delaware Court of Chancery, suddenly seeking to unwind and invalidate the PLA and remove

GVA as the Manager of GVA Auto. In its complaint, Definition alleges that “there is no
contemporaneous evidence” documenting the parties’ oral PLA, argues that the PLA is thus “non-

existent and unenforceable,” and asserts that Definition should be free to renege on its predecessor-

in-interest’s commitments.


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       10.     Ignoring the fact that GVA had written to Definition two weeks prior, Definition

also filed an emergency TRO application, baselessly claiming that it feared GVA would abscond

with the profits simply because its principal “is a Russian national domiciled in the Russian

Federation” who “would not be ‘concerned about’ breaching” court orders. Id. ¶ 47. (For the

avoidance of doubt, GVA and Mr. Musaev dispute those allegations.)

       11.     Plainly, the parties disagree about the PLA’s enforceability—but they agree that

their dispute should be resolved by a court. To that end, GVA stipulated to a “status quo order,”
entered by the Court of Chancery on May 18, 2021, that requires GVA to place the disputed GVA

Auto shares into escrow while the parties litigate (the “Status Quo Order”). Specifically, the Status

Quo Order provides that: (i) once GVA dissolves or modifies a separate status-quo stipulation in

an action pending in the Cayman Islands, the parties will transfer the Luminar shares to an escrow

agent; and (b) the escrow agent will distribute: (i) approximately $17.9 million’s2 worth of shares

to a third-party investor; (ii) approximately $1.8 million’s worth of shares to GVA for managing

that third-party’s investment; and (iii) approximately $18.5 million’s worth of shares to Definition

(the number of shares necessary to make it whole for Prosperity’s original investment, just as the

parties contemplated under the PLA). The parties agree that the remaining shares—approximately

$347.7 million’s worth—are at issue in this dispute and should remain in escrow until the matter

is resolved.

                                 TIMELINESS OF REMOVAL

       12.     GVA was served with the Complaint and Summons on or about May 4, 2021. See

Ex. A at Dkt. 11. This Notice of Removal is timely because, as required under 28 U.S.C. § 1446(b),

it is being filed within thirty (30) days of Defendant’s receipt of the Summons and Complaint.




2
 The parties have agreed that this distribution will be made in shares, not dollars, and will be based
on “the closing price of the shares” as quoted on Nasdaq “at the close of business on the business
day prior to” the contemplated distribution. However, for diversity-jurisdiction purposes, what
matters is the amount in controversy at the time the complaint was filed. The dollar figures in this
paragraph are thus based on the closing price of Luminar’s shares on April 26, 2021.


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                                     PLACE OF REMOVAL

       13.      The United States District Court of the District of Delaware is the appropriate venue

for removing an action from the Court of Chancery of the State of Delaware, where this matter is

currently pending. See 28 U.S.C. § 1441(a); 28 U.S.C. § 87.

                                 DIVERSITY OF CITIZENSHIP

       14.      A civil action brought in state court may be removed by the defendant to federal

district court if the federal court would have had original jurisdiction over the claim. See 28 U.S.C.

§ 1441(a). “Diversity of citizenship subject matter jurisdiction falls within the original jurisdiction

of the district court,” under 28 U.S.C. § 1332(a), and thus “a state court case that implicates

diversity jurisdiction” may generally be removed, Brown v. Francis, 75 F.3d 860, 865 (3d Cir.

1996), as long as the defendant is not a citizen of the state in which the action is brought, 28 U.S.C.

§ 1441(b)(2).

       15.      For jurisdictional analysis, “corporations are citizens both of the state in which they

are incorporated and in [their] principal place of business. A corporation’s principal place of

business is its nerve center defined as where the corporation decides the strategy and engages in

the executive decision-making defining the corporation’s business. There can only be one

principal place of business. [Courts] do not find a principal place of business simply because the

managers are located in one state or the public perception is the company belongs in a certain state.

The issue is solely where the executive final decision making is made.” See, e.g., ACI Worldwide

Corp. v. Tracfone Wireless, Inc., No. CV 16-981, 2017 WL 3228138, at *2 (D. Del. July 31, 2017)

(citations omitted).

       16.      Definition is, and at all relevant times has been, a British Virgin Islands corporation.

Compl. ¶ 11.

       17.      In its Complaint, Definition is silent about its own principal place of business.

However, when Prosperity purported to transfer its GVA Auto interest to Definition, Definition’s

Manager described the corporation as being a “citizen” of the British Virgin Islands and listed its

primary address as Trident Chambers, P.O. Box 146, Road Town, Tortola, British Virgin Islands.


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Definition’s Manager appears to be based in Switzerland. Upon information and belief, Definition

is not registered to do business in either California or Delaware.

       18.     Definition is therefore a citizen of the British Virgin Islands.

       19.     Defendant GVA is incorporated in the Cayman Islands. Its principal place of

business is San Francisco, California. See Compl. ¶ 12 (alleging that GVA is “a San-Francisco

based, Cayman Islands-registered entity”).

       20.     GVA is therefore a citizen of the Cayman Islands and California.
       21.     GVA is not a citizen of Delaware.

       22.     There is complete diversity of citizenship between the parties.

                                   AMOUNT IN CONTROVERSY

       23.     Because there is complete diversity of citizenship, this Court has original diversity

jurisdiction under 28 U.S.C. § 1332(a) as long as the amount in controversy exceeds $75,000.00,

exclusive of interest and costs.

       24.     Here, there is no doubt that this dispute clears that threshold. The parties disagree

over the distribution of GVA Auto’s interest in Luminar, which, “[b]ased on Luminar’s recent

stock prices,” has “a value in the hundreds of millions of dollars.” See Compl., ¶ 29; id. ¶ 33

(alleging that Definition’s predecessor, Prosperity, expected to receive “Luminar Shares worth

hundreds of millions of dollars”); id. ¶ 61 (accusing GVA of “breach[ing] its fiduciary duties by

attempting to usurp Definition Services’ investment gains, which total hundreds of millions of

dollars”).

       25.     Indeed, as detailed above, the parties recently agreed to move approximately

$347.7 million’s worth of Luminar shares into an escrow account—the “amount in controversy”

in this lawsuit based on the shares’ April 26, 2021 value.

                 PROCEDURAL REQUIREMENTS AND LOCAL RULES

       26.     There is only one Defendant in this action—GVA Capital, Ltd. No other party’s

consent is required for removal.




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       27.     By filing this Notice of Removal, Defendant does not intend to waive, and hereby

reserves, any objection as to service and other defenses.

       28.     Pursuant to 28 U.S.C. § 1446(d), a copy of the Notice of Removal to United States

District Court is being filed with the Court of Chancery of the State of Delaware. A copy of the

Notice of Filing of Notice of Removal, which will be filed with the Court of Chancery, is attached

hereto as Exhibit B.

       29.     This Notice of Removal will be served on Plaintiff today.
       30.     In accordance with 28 U.S.C. § 1446(a), “a copy of all process, pleadings, and

orders served upon” Defendant are attached hereto as Exhibit A.

       31.     Pursuant to Local Rule 81.2, within 21 days of the filing of the case with the Clerk,

the parties shall submit a statement identifying all pending matters which require judicial action.

       32.     Pursuant to 28 U.S.C. § 1450, the Status Quo Order “shall remain in full force and

effect until dissolved or modified by [this Court].”

                                 DEMAND FOR JURY TRIAL

       33.     GVA demands trial by jury on all issues appropriate for jury determination.

                                          CONCLUSION

       34.     The prerequisites for removal under 28 U.S.C. §§ 1332, 1441, and 1446 have been

met. If any questions arise as to the propriety of the removal of this action, GVA requests the

opportunity to present a brief, oral argument, and further evidence as necessary in support of its

position that this case is removable to this Court.

                                                       ROSS ARONSTAM & MORITZ LLP

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 May 25, 2021


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                                 CERTIFICATE OF SERVICE

       I, Adam D. Gold, hereby certify that on May 25, 2021, I filed the foregoing document with

the Clerk of Court using the CM/ECF system. Additionally, I hereby certify that on May 25, 2021,

I served the foregoing document on counsel of record as listed below by electronic mail and on

May 25, 2021 by hand delivery at the addresses below:

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                        Attorneys for Definition Services, Inc.

       I hereby certify that a copy of the forgoing motion will be electronically filed with the State

of Delaware Chancery Court using File & ServeXpress.

                                                      /s/ Adam D. Gold
                                                      Adam D. Gold (Bar No. 6412)
